                                      February 26, 2015



Larry J. Thorson
Ackley Kopecky & Kingery, LLP
4056 Glass Road N.E.
Cedar Rapids, IA 52402

       RE: Kuehl v. Sellner, et al. – Rebuttal Expert

Dear Larry:

        I am writing to disclose Plaintiffs’ rebuttal expert witness in the above-
referenced matter. Plaintiffs intend to call retired zoo administrator David Allen
as part of their case-in-chief in order to rebut testimony that will be provided by
Defendant Pam Sellner, Dr. Pries, and Dr. Pusilio. Mr. Allen lives in Des Moines,
Iowa and can be reached at (515) 822-4431 or zoodavid.allen@gmail.com.

       Mr. Allen worked as the administrator or in the administration offices for
the Blank Park Zoo in Des Moines, Iowa; the Kansas City Zoo in Kansas City,
Missouri; and the Cheyenne Mountain Zoo in Colorado Springs, Colorado, all of
which are exemplary zoological facilities with accreditation from the Association
of Zoos and Aquariums. Mr. Allen’s summary of his education and work
experience is attached.

        Mr. Allen does not have an expert witness report to disclose at this time. If
he develops an expert witness report, I will promptly disclose it to you. He plans
on testifying about general zoo care and maintenance, necessary resources and
staff for successful zoo administration, general veterinary and husbandry
requirements for zoo animals, compliance with Class C Exhibitor requirements
under the Animal Welfare Act, compliance with protections afforded endangered
animals under the Endangered Species Act, and other topics regarding zoo
administration as needed.

        As always, if you have any questions, please do not hesitate to call me at
the telephone number listed below.

                                                      Sincerely,


                                                      Jessica L. Blome
                                                      641-431-0478
                                                      jblome@aldf.org
C:     Dan Anderson, Esq.
       Tracey Kuehl, Lisa Kuehl, Nancy Harvey, Kris Bell, John Braumann
Enclosure


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